Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1008 Filed 11/27/18 Page 1 of 40

                                                               TAB H
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1009 Filed 11/27/18 Page 2 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1010 Filed 11/27/18 Page 3 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1011 Filed 11/27/18 Page 4 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1012 Filed 11/27/18 Page 5 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1013 Filed 11/27/18 Page 6 of 40




                            EXHIBIT 1
                                      to
               Declaration of Deborah S. Salomon
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1014 Filed 11/27/18 Page 7 of 40




 FRD-2015080155033
 Case made 8/5 Rec'd. 8/6 - Due: 8/26
 .
 Falsification of Bank Records
 Night Depository Log
 .
 Assoc's.:
 Lori A. Rea
 ***Prev. case: CSI-122922 Aug. '12 - Unauth. acct. access - No evidence - No further
 action***
 NBKW2EB 27769503 7-1-91 FT FCM Band 5
 .
 Amy L. Thickstun
 ***No prev. cases***
 ZKNM8ZY 20939391 6-12-13 FT TOS Band 7
 .
 Roxanne Lynn Magnusson
 ***No prev. cases***
 ZKIET96 25648107 8-18-14 FT Sr. Teller (POD Teller) Band 8
 .
 Rea and Thickstun:
 Highland/Milford FC #369
 1820 S. Milford Rd.
 Highland, MI. 48357
 OMM: Stacie L. Fabrie
 (312)-933-2032
 .
 Magnusson:
 Assigned at the Lyon Towne Center FC #283
 30786 Lyon Center Dr. E.
 New Hudson, MI. 48165
 Reports to: Heather D. Subran-Marsh
 .
 Reported by Magnusson to Fabrie:
 On 8/4, while working at Highland/Milford, was asked to sign ND log as verifier
 Magnusson signed that items were processed & because Rea felt she couldn't say no to
 Rea
 the ND was not opened until approximately 11a.
 The time written on the log was before 9a. input intentionally so there would be no
 BCCR finding
 Case submitted by Fabrie for review of surv. to find out actual time ND opened
 .
 8/6
 Emailed Fabrie req'd. copy of the 8/4, ND log
 Fabrie responded that she didn't have it but could have Rea fax it
 Req'd. she not have Rea fax it as we don't want to tip her off




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Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1015 Filed 11/27/18 Page 8 of 40




 Asked if she would be at the FC to fax or to have Magnusson fax it
 Fabrie stated Rea on vacation next week so will have it faxed then
 .
 The Cashroom surv. view captures the ND safe
 .
 August 7, 2015
 Added Lori A. Rea and Roxanne Lynn Magnusson with Enrichment - Alert #97260
 .
 August 13, 2015
 Reviewed surv.
 On 8/4, the ND was opened at 11:20 & closed at 11:22
 Since Fabrie sent the rest of the wks. logs, also reviewed surv. for those dts. - The ND
 was opened/closed at the times listed
 Emailed Fabrie to adv. - Stated will conduct telephone interviews next wk. - Inq'd. on
 what FC's Magnusson is working at & on what dts. next wk. & what dts. Thickstun &
 Rea have off next wk.
 Saved surv. clip in Salomon folder in cinvestigations drive
 .
 August 14, 2015
 Fabrie responded on the following schedules:
 Rea: M 12-cl., T-W 8:30-5:30, Th. 8:30-noon, F 8:30-6:30
 Thickstun: M 9:30-5:30, T 8:30-5:30, W off, T 8:30-5:30, F 8:30-6:30
 Magnusson: M Lyon Towne Center 8:30-5:15, T Milford, W Lyon Towne Center, T-F
 vacation
 .
 Fabrie also reported that on 8/11, Magnusson went into dual control before 1p. w/
 Yesko to get ATM/Debit cards for Yesko - When she went to record on the log, Yesko
 told her not to worry about it & he'd take care of it later - Fabrie pulled a copy of the log
 which is signed by Yesko & Thickstun - Again, Magnusson did not want an argument so
 she didn't sign & called Fabrie right away

 August 18, 2015
 Email to Subran-Marsh (copied Fabrie) re. telephone interview of Magnusson on 8/19,
 9:30 a.m. at which time she'll be at the Lyon Towne Center FC
 FCM there is Nicole Dietrich - AM is Erick Eldridge - Dietrich on vacation this week
 Fabrie responded that w/ the new re-org. Magnusson reports to her
 Inq'd. if Fabrie wanted to adv. Eldridge or if she wanted me to
 Scheduling for 9:30 a.m. 8/19
 .
 Added Yesko w/ Enrichment - Alert #99327
 Sean J. Yesko
 ***No prev. cases***
 ZKMVCI9 20525682 9-3-14 FT PB Band 7
 Reports to Marie Warner
 .
 August 19, 2015




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Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1016 Filed 11/27/18 Page 9 of 40




 Only assoc. involved in this case that has a HR case owner is Thickstun - Vince
 Dubman
 .
 Fabrie will let both Eldridge & Warner know
 Sent invite to Rea for 11:30 this morning - Accepted
 .
 Interviewed Magnusson - POD Sr. Teller - Works btwn. New Hudson, Highland/Milford
 & Lyon Towne Center
 .
 On 8/4, Thickstun stated OMG forgot to do ND - Log put before Magnusson sometime
 after lunch by Thickstun along w/ the receipts to sign as verified by - Magnusson signed
 as verifier understanding that she only verified the bag/envelopes were processed -
 Saw right away the time was not accurate - Didn't question - When questions things at
 Highland/Milford given answer "that's the way we do it here" - Thought about it all night -
 Told Dietrich about it the next morning - Dietrich called Fabrie to advise - Magnusson
 stated policy for ND is that it is opened before the FC opens - Believes time written was
 before 9a. so wouldn't get in trouble for not opening ND as to policy
 .
 On 8/11, Thickstun asked Magnusson to open ATM/Debit card safe w/ Yesko -
 Thickstun was only teller w/ line of cust's. - Magnusson key opened & Yesko combo.
 opened - Yesko took out 20 cards - Magnusson verified 20 taken out & 110 remained -
 Safe locked - Yesko immediately back to his cust. who was waiting for a card -
 Magnusson stated to Thickstun that the log needed to be completed - Thickstun stated
 "don't worry about it" - "I'll take care of it later" - You'll be late getting to New Hudson" -
 Magnusson stated she was already late leaving the Highland/Midlford FC - Didn't want
 to be insubordinate to Thickstun & didn't know what to do so called Fabrie on drive from
 Highland/Milford to New Hudson - Fabrie thanked Magnusson for the call & stated she
 did the right thing - Req'd. call if anything else arises
 .
 Magnusson stated feels as if it's just not right at Highland/Milford
 .
 Interviewed Rea - She has key - Thickstun has combo - Aware that policy states open
 ND prior to FC opening - Didn't get to it in the a.m. - What do we do; not open it or open
 & process dep's. - Opened to process dep's. - Placed 8:58 a.m. to be in compliance with
 Audit - BCCR audit was the next day 8/5 - Scored 98.2 - Marked down due to a teller
 having over the $4K limit in top drawer - No other findings - Unsure if ND included w/
 BCCR - If actual time had been written, would have been a finding or a coaching - Many
 times due to staffing does not have a 2nd person for ND so log waits until the next day
 & the time of 8:58 is also written
 .
 Scheduled 1:30 p.m. today to interview Yesko
 Scheduled btwn. 10-10:30 a.m. to interview Thickstun tomorrow 8/20
 Scheduled Mon. 8/24, 9a.-10a. w/ Vince Dubman to discuss case - Accepted
 .
 Interviewed Yesko - Needed ATM/Debit card for cust. at desk who had already been
 waiting a long time - Went into safe w/ Magnusson - After taking what needed &




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Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1017 Filed 11/27/18 Page 10 of 40




  verifying what was left, went back to cust. & completed log later in day - Did not
  complete at that time because wanted to get back to cust., Magnusson was leaving for
  other FC & Thickstun was busy w/ cust's. on TL - Time log completed was unknown
  .
  August 20, 2015
  Interviewed Thickstun - Ack. clear understanding of COE - Verbalized proper ND
  procedures - Verbalized correct definition of dual control - Recalled opening the ND late
  on 8/4 - 8:58 time written per PRO that ND get opened prior to FC opening - Audit issue
  - Should have written correct time - Thickstun stated no excuse as there were 4 people
  present on 8/4 - On 8/11, Magnusson was leaving for other FC & FCM at Lyon Towne
  Center had emailed Thickstun earlier in the day that needed her on time - Thickstun
  was only teller w/ line of cust's. in lobby & d/u & Yesko was only PB w/ cust's. waiting -
  Did adv. Magnusson she'd take care of log later but in fact wished Magnusson just got
  the log out of the teller drawer that she has access to & completed it herself - Accepted
  responsibility for wrongdoing - As leader should have ensured proper completion on
  both occasions - Stated obviously Magnusson submitted issues (stated not at liberty to
  reveal) - Thickstun stated while she realizes what she did was wrong, stated
  Magnusson has complained how not happy w/ roll or working at the Highland/Milford FC
  - Doesn't like constant change of schedule & recently denied vacation time - Feels
  retaliating because not happy
  .
  Discussed all interviews w/ Fabrie - Fabrie believes the following should be adm'd.:
  Magnusson should receive only a Coaching or Verbal as did sign the ND log & did not
  insist on Card log being completed
  Yesko should receive some disciplinary action but not term. as did not insist on Card log
  being completed right away & then allowed Thickstun to dual sign
  Rea & Thickstun, both in leadership roles & should have known better, terminations
  Adv'd. have 9a. meeting Mon. 8/24, w/ Dubman to discuss & will keep her posted
  .
  August 24, 2015
  Discussed case with Dubman - Term's. for both Rea & Thickstun - FWW for Yesko -
  Coaching for Magnusson
  Brought Fabrie onto call - Along w/ Marie Warner, Yesko reports to her, all to be adm'd.
  today
  Sean: 1-447909451
  Amy: 1-447909467
  Lori: 1-447909472
  .
  Disciplinary actions administered
  .
  Narrative
  PRISM
  No SRS or EDIR
  Subm. for review, approval & closure (day 19)




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Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1018 Filed 11/27/18 Page 11 of 40




                            EXHIBIT 2
                                       to
               Declaration of Deborah S. Salomon
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1019 Filed 11/27/18 Page 12 of 40




  On August 5, 2015, Bank of America, N.A. (BANA) Internal Investigations Group (IIG)
  received this Falsification of Bank Records case as it related to a Night Depository (ND)
  log involving its associates Lori A. Rea (Rea), Amy L. Thickstun (Thickstun) and
  Roxanne Lynn Magnusson (Magnusson). The incident took place on August 4, 2015, at
  the Highland/Milford financial center located at 1820 S. Milford Rd. Highland, MI. 48357.
  All three were working in a full-time capacity; Rea the financial center manager, date of
  hire July 1, 1991, Thickstun the Teller Operations Specialist, date of hire June 12, 2013,
  and Magnusson the Senior Teller, date of hire August 18, 2014.
  .
  Magnusson reported that while the opening/closing time written on the ND log was
  before 9:00 a.m. (which is BANA policy); it wasn't actually opened/closed until
  approximately 11:00 a.m. Magnusson reported she was asked by Rea to sign the ND
  log as the verifier which she did because all the items were processed and because she
  felt she could not tell the manager no. Magnusson reported that the time written was
  intentional to ensure there would be no finding on a Banking Center Control Review
  (BCCR) audit for opening/closing the ND after the financial center was already open.
  .
  Review of the ND log revealed the time opened and closed to be 8:58 a.m.
  .
  Review of surveillance revealed the ND to have been opened at 11:20 a.m. and closed
  at 11:22 a.m.
  .
  On August 14, 2015, IIG learned of another incident reported by Magnusson. On
  August 11, 2015, Magnusson was asked by Thickstun to access the dual control safe
  where ATM/Debit cards are stored with full-time Personal Banker Sean J. Yesko
  (Yesko), date of hire September 2, 2014. Magnusson did as requested but when she
  went to record the ATM/Debit cards on the log, Thickstun told her not to worry about it
  and she would take care of it later.
  .
  On August 19, 2015, an associate from the IIG conducted interviews of Magnusson,
  Rea and Yesko. On August 20, 2015, IIG interviewed Thickstun. All four acknowledged
  a clear understanding of BANA's Code of Ethics. Each of Rea and Thickstun
  acknowledged a clear understanding of BANA's Night Depository procedures and each
  of Yesko and Thickstun acknowledged a clear understanding of proper completion of
  required logs.
  .
  Magnusson stated:
  1. On August 4, 2014, sometime after lunch, she was asked to sign the ND log as
  having verified that all bags/envelopes had been processed.
  2. She saw right away that the time written on the log was not accurate.
  3. She signed as verifier because the bags/envelopes were processed.
  4. Even though she saw that the time was not accurate, she did not feel comfortable
  confronting either Rea or Thickstun about the matter.
  5. On August 11, 2015, prior to leaving the Highland/Milford financial center to work at
  the Lyon Towne Center financial center (located at 30786 Lyon Center Dr. E. New




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Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1020 Filed 11/27/18 Page 13 of 40




  Hudson, MI. 48165), Thickstun asked her to access a dual control safe with Yesko so
  he could obtain ATM/Debit cards.
  6. She did as asked and Yesko immediately went back to his customer.
  7. She asked Thickstun about completing the log to which Thickstun stated she was
  already late getting to the Lyon Towne Center financial center and that she'd take care
  of it later.
  8. Again, she did not feel comfortable confronting Thickstun about the matter.
  .
  Rea stated:
  1. Even though it was outside of policy, they decided to open the ND after the financial
  center had already opened so as not to delay any customer deposits.
  2. The time of 8:58 a.m. was written to be in compliance with Audit.
  .
  Yesko stated:
  1. He needed an ATM/Debit card for the customer at his desk who had already been
  waiting a long time and another customer was waiting.
  2. He went into the dual control safe with Magnusson, took what was needed, verified
  what was left and went back to his customer.
  3. Even though Thickstun did not access the dual control safe with him, he and
  Thickstun completed the log later in the day.
  .
  Thickstun stated:
  1. Even though four associates were present on August 4, 2015, they forgot to access
  the ND prior to the financial center opening.
  2. The time of 8:58 a.m. was written to be in compliance with Audit.
  3. On August 11, 2015, after Magnusson signed off, she was the only associate
  working the teller line and drive through window and she was busy.
  4. That she asked Magnusson to access a dual control safe with Yesko so he could
  obtain ATM/Debit cards.
  5. That she did tell Magnusson she'd take care of logging the ATM/Debit cards later.
  6. That as a leader, she should have ensured proper completion of both the ND and
  ATM/Debit card logs.
  7. That she accepted responsibility for her wrongdoing.
  .
  BANA's Advice and Counsel was engaged for employment outcome discussions. Rea
  and Thickstun are no longer employed with BANA. Yesko and Magnusson remain
  employed with BANA.
  .
  In summary: On August 4, 2015, Rea and Thickstun falsified the time the ND was
  opened/closed to avoid an audit issue. On August 11, 2015, Thickstun signed a log
  stating she accessed a dual control safe with Yesko, however, she did not.
  .
  BANA suffered no exposure or loss resulting from this matter.




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Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1021 Filed 11/27/18 Page 14 of 40




                            EXHIBIT 3
                                       to
               Declaration of Deborah S. Salomon
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1022 Filed 11/27/18 Page 15 of 40




                                                                            BOA 00486
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1023 Filed 11/27/18 Page 16 of 40




                                                                            BOA 00487
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1024 Filed 11/27/18 Page 17 of 40




                                                                            BOA 00488
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1025 Filed 11/27/18 Page 18 of 40




                                                                            BOA 00489
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1026 Filed 11/27/18 Page 19 of 40




                            EXHIBIT 4
                                       to
               Declaration of Deborah S. Salomon
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1027 Filed 11/27/18 Page 20 of 40




                                                                                    BOA 00476
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1028 Filed 11/27/18 Page 21 of 40




                            EXHIBIT 5
                                       to
               Declaration of Deborah S. Salomon
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1029 Filed 11/27/18 Page 22 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1030 Filed 11/27/18 Page 23 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1031 Filed 11/27/18 Page 24 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1032 Filed 11/27/18 Page 25 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1033 Filed 11/27/18 Page 26 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1034 Filed 11/27/18 Page 27 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1035 Filed 11/27/18 Page 28 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1036 Filed 11/27/18 Page 29 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1037 Filed 11/27/18 Page 30 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1038 Filed 11/27/18 Page 31 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1039 Filed 11/27/18 Page 32 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1040 Filed 11/27/18 Page 33 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1041 Filed 11/27/18 Page 34 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1042 Filed 11/27/18 Page 35 of 40
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1043 Filed 11/27/18 Page 36 of 40




                            EXHIBIT 6
                                       to
               Declaration of Deborah S. Salomon
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1044 Filed 11/27/18 Page 37 of 40




                                                                            BOA 00250
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1045 Filed 11/27/18 Page 38 of 40




                            EXHIBIT 7
                                       to
               Declaration of Deborah S. Salomon
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1046 Filed 11/27/18 Page 39 of 40




                                                                            BOA 00493
Case 4:17-cv-12388-LVP-SDD ECF No. 43-9, PageID.1047 Filed 11/27/18 Page 40 of 40




                                                                            BOA 00494
